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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MICHAEL MENESE,

              Plaintiff,

       v.                                     Civil Action No. 1:15-cv-3209-WSD

OSP PREVENTION GROUP, INC. and
 WILLIAM E. MABRY II,

              Defendants.

                      NOTICE OF CONCLUSION OF ARBITRATION

   Plaintiff Michael Menese hereby gives notice, as required by the Court’s April

12, 2016 Order [Dkt. 34], of the conclusion of the Parties’ arbitration. Following a

two-day participatory hearing and post-hearing briefing, the arbitrator issued a

Final Award in favor of Plaintiff in the amount of $94,855.07. The Parties have

agreed upon payment terms and Plaintiff does not intend to file a motion in this

Court to confirm the arbitrator’s Final Award if all payments are timely made.




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This 13th day of November 2017,

                                         Respectfully submitted,

                                         DELONG, CALDWELL, BRIDGERS,
                                         FITZPATRICK & BENJAMIN, LLC

                                         /s/ Matthew W. Herrington
3100 Centennial Tower                    Mitchell D. Benjamin
101 Marietta Street, N.W.                Georgia Bar No. 049888
Atlanta, GA 30303                        Matthew W. Herrington
Tel: (404) 979-3150                      Georgia Bar No. 275411
benjamin@dcbflegal.com
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                   THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MICHAEL MENESE,

              Plaintiff,

       v.                                     Civil Action No. 1:15-cv-3209-WSD

OSP PREVENTION GROUP, INC. and
 WILLIAM E. MABRY II,

              Defendants.

                           CERTIFICATE OF SERVICE

I hereby certify that on this date, I caused the foregoing document to be filed with

the Clerk via the Court’s CM/ECF system, thereby ensuring electronic service

upon all counsel of record.

Dated: November 13, 2017

                                               /s/ Matthew W. Herrington
                                               Matthew W. Herrington
                                               Georgia Bar No. 275411




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